1                      INDEX OF EXHIBIT
     TO DEFENDANT’S SUPPLEMENT TO DKT 429 MOTION IN LIMINE
2      TO PRECLUDE GOVERNMENT FROM INTRODUCING EMAIL
                          EVIDENCE
3
4                  United States v. Ahmed Alahmedalabdaloklah
                          No. CR-12-01263-PHX-NVW
5
6
      Exhibit                            Description
7      No.
8      1        Bates U.S. v. AIA 035541—the first email in the government
                production
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
EXHIBIT 1
        Subject: ).:i~-~ ~ I
        From: John John <johnjohn20088l2@yahoo.com>
        Date: Sat, 15 Nov 2008 04:53: 14 -0800 (PST)
        To: nna62n@yahoo.com




(
    ~




                                                       U.S.   V.   AIA 035541
c·· ,.
         Subject: Peace upon you, Mukhtar
         From: John John <johnjohn20088I2@yaboo.com>
         Date: Sat, 12November 2008 04:53:14 -0800 (PST)
         To: nna62n@yahoo.com>


         Peace be upon you,

         I am Abu Ibrahim Mukhtar




(




                                                           U.S. v. AIA 035542
